                                                                                  Case 2:22-cv-02052-CDS-MDC             Document 23        Filed 07/26/24     Page 1 of 2




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                                                                              5   Attorneys for Defendant Life Insurance Company of
                                                                                  North America
                                                                              6

                                                                              7                                UNITED STATES DISTRICT COURT

                                                                              8                                    FOR THE DISTRICT OF NEVADA
                                                                                                                                                                       MDC
                                                                              9 SONNY ISHIKAWA,                                            Case No.: 2:22-cv-02052-CDS-VCF
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                             10                          Plaintiff
                                                                                                                                           STIPULATION FOR DISMISSAL
                                                                             11   vs.                                                           WITH PREJUDICE

                                                                             12   LIFE INSURANCE COMPANY OF NORTH
                                                                                  AMERICA,
                                                                             13
                                                 10801 W. Charleston Blvd.


                                                  Telephone: 702.369.6800




                                                                                                         Defendant
                                                    Las Vegas, NV 89135




                                                                             14
                                                         Suite 500




                                                                             15
                                                                                         Defendant Life Insurance Company of North America and plaintiff Sonny Ishikawa, by and
                                                                             16
                                                                                  through undersigned counsel, hereby stipulate that all claims plaintiff had or may have had against
                                                                             17
                                                                                  defendant that are contained in, are reasonably related to or could have been brought in the above-
                                                                             18
                                                                                  captions action, are hereby dismissed, with prejudice, in their entirety. The parties shall bear their
                                                                             19
                                                                                  own attorneys’ fees and costs.
                                                                             20
                                                                                         Dated this 23rd day of July, 2024.
                                                                             21
                                                                                                                        OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                             22

                                                                             23                                         /s/ Kristina N. Holmstrom
                                                                                                                        Kristina N. Holmstrom
                                                                             24
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                                                                             28
                                                                                  Case 2:22-cv-02052-CDS-MDC             Document 23       Filed 07/26/24        Page 2 of 2




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                                                                              9

                                                                             10
Ogletree, Deakins, Nash, Smoak & Stewart, P.C.




                                                                                                                                ORDER
                                                                             11

                                                                             12          Based on the parties’ stipulation, this case is dismissed with prejudice, with each party to

                                                                             13 bear its own costs and fees. The Clerk of Court is kindly instructed to close this case.
                                                 10801 W. Charleston Blvd.


                                                  Telephone: 702.369.6800
                                                    Las Vegas, NV 89135




                                                                             14
                                                         Suite 500




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                                                                                                                               UNITED STATES DISTRICT JUDGE
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                                                                                                                               DATED: July 26, 2024
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